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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


 STATE OF MARYLAND, et al.,

  Plaintiffs,                                       Case No. 1:25-cv-00748-JKB

         v.

 UNITED STATES DEPARTMENT OF
 AGRICULTURE, et al.,

  Defendants.


                   CONSENT NUNC PRO TUNC MOTION FOR
         43-MINUTE EXTENSION OF TIME TO FILE COMPLIANCE REPORT

       Defendants, through undersigned counsel, respectfully request a 43-minute extension of

time, nunc pro tunc, to file the compliance report directed by the Court in its Temporary

Restraining Order (“TRO”) dated March 13, 2025. See ECF No. 44 at 3. Plaintiffs’ counsel have

informed undersigned counsel that Plaintiffs do not oppose this relief. Defendants respectfully

submit that there is good cause to grant such a nunc pro tunc extension:

       1.       After the Court issued its TRO at approximately 8:30 p.m. on Thursday, March 13,

undersigned counsel immediately began coordinating with the eighteen (18) restrained agencies

(the “Restrained Defendants”) to ensure compliance with the TRO by the 1:00 p.m. deadline set

by the Court.

       2.       Undersigned counsel have worked diligently to communicate the TRO’s

requirements to Restrained Defendants. Restrained Defendants, for their part, have worked

diligently, with assistance and coordination from undersigned counsel, to comply with those

requirements on the deadline established by this Court. Those compliance efforts have continued




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unabated through Saturday and Sunday, March 15 and 16, and continue through Monday, March

17, up to and including the 1 p.m. compliance deadline.

       3.      As detailed in the report and declarations submitted by Defendants at 7:43 p.m. on

March 17, 2025, due to the diligent efforts of numerous personnel, all the Restrained Defendants

substantially complied with the TRO, with some limited delays to due to unanticipated

technological and logistical complications.

       4.      While working with the Restrained Defendants to ensure compliance with the 1:00

p.m. deadline, undersigned counsel were simultaneously coordinating the preparation of 18

declarations and a report documenting that compliance. Undersigned counsel enlisted several

additional Department of Justice attorneys, not assigned to handle this case, to assist with this task

in order to meet the compliance report deadline, which was originally likewise set at 1:00 pm on

March 17.

       5.      Despite these efforts, counsel determined that preparation and submission of the

compliance report and declarations by 1:00 pm—the compliance deadline—was infeasible.

Accordingly, Defendants sought and the Court granted an extension of time to 7:00 pm for this

submission.

       6.      The efforts by Defendants’ counsel to meet this 7:00 pm deadline continued without

pause through the day on Monday, March 17. Coordinating 18 separate agency compliance

declarations proved an extremely complex task, further complicated by last-minute technical

difficulties in formatting electronically signed declarations appropriately for ECF-filing.

Regrettably, despite undersigned counsel’s best efforts, these tasks ultimately took 43 minutes

longer than counsel had previously estimated was necessary.




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       7.      Accordingly, Defendants respectfully request a 43-minute extension of time, nunc

pro tunc, to file the Restrained Defendants’ compliance report and declarations.

       8.      Defendants’ counsel have sought Plaintiffs’ counsel’s position on this motion, and

Plaintiffs’ counsel have stated that Plaintiffs consent to the relief sought.



                                               Respectfully submitted,

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                                               Civil Division

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                                 CERTIFICATE OF SERVICE

I certify that on this 17th day of March 2025, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF System, which will send notice of such filing to all counsel.


                                                      /s/ Beatrice C. Thomas
                                                      Beatrice C. Thomas
                                                      Assistant United States Attorney




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